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 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3
   Chief, Criminal Division
 4
   SAILAJA M. PAIDIPATY (NYBN 5160007)
 5 Assistant United States Attorney

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7
             Telephone: (415) 436-7200
 8           FAX: (415) 436-7234
             sailaja.paidipaty@usdoj.gov
 9
     Attorneys for United States of America
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11                                   UNITED STATES DISTRICT COURT

12                                NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN FRANCISCO DIVISION
14
                                                     )   NO. 19-0367-10 CRB
15   UNITED STATES OF AMERICA,
                                                     )
                                                     )   UNITED STATES’ SENTENCING
16           Plaintiff,                                  MEMORANDUM
                                                     )
17      v.                                           )
                                                         Judge: Hon. Charles R. Breyer
                                                     )
18   LUIS ALMICAR ERAZO-CENTENO,                         Sentencing Date: February 16, 2022
                                                     )
           a/k/a “Pika”                                  Time: 1:30 p.m.
                                                     )
19                                                   )
             Defendant.                              )
20

21 I.        INTRODUCTION
22           Defendant Luis Almicar Erazo-Centeno worked as one of many street-level drug dealers in the
23 drug trafficking organization run by co-defendants Eduardo Viera-Chirinos and Karen Castro-Torres.

24 As he admitted in his plea agreement and as illustrated through numerous intercepted calls, Erazo-

25 Centeno purchased ounces of drugs at a time from members of the Viera-Chirinos organization that he

26 then resold on the streets of the Tenderloin. A review of his criminal history indicates that Erazo-

27 Centeno began selling drugs in San Francisco several years before the current federal conduct. He was

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 1 arrested initially in 2013 conducting narcotics transactions with co-defendant Cilder Velasquez. At the

 2 time of the federal investigation, Erazo-Centeno had a pending state drug trafficking case stemming

 3 from an arrest near 8th and Market Streets in San Francisco. Despite claiming to comply with his

 4 conditions of release in that case, Erazo-Centeno continued selling drugs. In fact, during conversations

 5 with Velasquez who was participating in a community drug court program, Erazo-Centeno asked what

 6 documentation he needed to show the judge, presumably to also participate in or complete the diversion

 7 program.

 8          Following the arrest of his co-defendants in this case, Erazo-Centeno left California, failing to

 9 appear again on the San Francisco case. The defendant took his drug dealing to Colorado where he was

10 arrested in January 2020 and later convicted.

11          In comparison other co-defendants, Erazo-Centeno was a street-level dealer with no managerial

12 role. The government agrees with the U.S. Probation Office, however, that a minor role reduction under

13 the U.S. Sentencing Guidelines is unwarranted as Erazo-Centeno was not substantially less culpable

14 than the average participant as required for the reduction to apply.

15          In light of Erazo-Centeno’s relative role in the conspiracy weighed against with his unabated

16 drug trafficking, the government recommends a slight variance from the low-end of the Guidelines and

17 recommends the imposition of a 48-month sentence.

18 II.      PROCEDURAL POSTURE

19          On August 8, 2019, a federal grand jury returned an Indictment charged Erazo-Centeno (and 13

20 co-defendants) with conspiracy to traffic drugs, in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B).

21 Following charging, agents were unable to locate Erazo-Centeno. They later learned that he left the Bay

22 Area for Colorado where he was arrested in January 2020 for drug dealing. Following conviction on the

23 state charges, Erazo-Centeno was brought into federal custody. The Honorable Jacqueline Scott Corley

24 arraigned Erazo-Centeno on November 20, 2020. The defendant subsequently pled guilty on July 21,

25 2021, to the sole count of a Superseding Information. At the time of sentencing, Erazo-Centeno will

26 have spent approximately fifteen and a half months in federal custody.

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 1 III.     SENTENCING GUIDELINES CALCULATIONS

 2          As set forth in the parties’ written plea agreement, the parties agree that at minimum the

 3 following Sentencing Guidelines apply:

 4          a.     Base Offense Level, U.S.S.G. §§ 2D1.1(a)(5), (c)(8):                                     24
                   (At least 100 KG but less than 400 KG of Converted Drug Weight)
 5
            b.     Acceptance of Responsibility (U.S.S.G. § 3E1.1(a):                                       -3
 6

 7          The plea agreement also contemplated the application of a two-level reduction, under U.S.S.G.

 8 § 3B1.2(b), for playing a minor role in the conspiracy. The government agrees with the U.S. Probation

 9 Office (“Probation”) that the reduction is unwarranted. Application Note 3 of the Guidelines provision

10 notes that the reduction applies to a defendant who is “substantially less culpable than the average

11 participant in the criminal activity.” U.S.S.G. § 3B1.2, Application Note 3(A). Here, Erazo-Centeno

12 and his fellow street-level dealers were the “average participant[s]” in the conspiracy. Their daily drug

13 dealing constituted the engine of the organization. Far from being an unwitting courier or a participant

14 in only one of many drug deals, Erazo-Centeno accepted housing from the organization and went to

15 work for it every day. His conduct, therefore, went well beyond the activity of a defendant who played a

16 “minor role.”

17          Without the role reduction, the final adjusted offense level is 21. The government agrees with

18 Probation’s assessment that Erazo-Centeno falls into Criminal History Category VI, resulting in an

19 advisory sentencing range of 57-71. The government recommends the imposition of a nine-month

20 downward variance, resulting in a sentence of 48 months’ imprisonment.

21 IV.      GOVERNMENT’S SENTENCING RECOMMENDATION

22          The Court should impose a sentence sufficient, but not greater than necessary, to reflect the

23 purposes of sentencing that Congress identified in 18 U.S.C. § 3553(a)(2). United States v. Carty, 520

24 F.3d 984, 991 (9th Cir. 2008). The Court should begin by calculating the correct sentencing range under

25 the Sentencing Guidelines. Id. The Guidelines are “the ‘starting point and the initial benchmark,’”

26 United States v. Ellis, 641 F.3d 411, 415 (9th Cir. 2011) (quoting United States v. Kimbrough, 552 U.S.

27 85, 108 (2007)), and the Court should “remain cognizant of them throughout the sentencing process.”

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 1 United States v. Gall, 552 U.S. 38, 50 n.6 (2007). After determining the appropriate Guidelines

 2 calculations, the Court should then evaluate the sentence for substantive reasonableness in light of the

 3 factors set out in Section 3553(a). Carty, 520 F.3d at 991-93. Here, the most important considerations

 4 are the nature and circumstances of the offense, the history and characteristics of the defendant, and the

 5 need to afford adequate deterrence. 18 U.S.C. § 3553(a)(1), (a)(2)(B).

 6          A.     Erazo-Centeno consistently bought and distributed ounce quantities of drugs on
                   behalf of the organization.
 7

 8          Erazo-Centeno admits that for at least 13 months, he worked as a street-level drug dealer for the

 9 Viera-Chirinos/Castro-Torres drug trafficking organization. See dkt. 395, Plea Agreement, ¶ 2.

10 Intercepted calls indicate that he accepted housing from the organization and moved from one location

11 to another when the co-conspirators believed law enforcement may have been watching them. See

12 Declaration of Sailaja M. Paidipaty (“Paidipaty Decl.”), Ex. A, Line Sheets. Erazo-Centeno discussed

13 this move with Castro-Torres who asked whether Erazo-Centeno or any of the other street-level dealers

14 who would occupy the new residence had a “clean ID so that the apartment could be under someone that

15 had not been burned already.” Id. at Call 270. Erazo-Centeno replied that he had identification, but

16 that he “had problems with the cops,” presumably referencing his arrest two months earlier in May 2019

17 by officers of the San Francisco Police Department (“SFPD”). Id. Castro-Torres instructed the

18 defendant to help get a picture of another individual’s ID, which he did. See id. at Calls 270-71. As

19 illustrated by this conversation, Erazo-Centeno remained undeterred by his pending criminal case.

20 Instead, he coordinated with Castro Torres to maintain and conceal the housing system supporting the

21 drug trafficking organization.

22          As he further admits in his plea agreement, when Erazo-Centeno bought and sold drugs for the

23 organization, he purchased and distributed ounce quantities. During one call on June 10, 2019, he asked

24 Velasquez to bring him one ounce of methamphetamine and one ounce of cocaine. See dkt. 395, Plea

25 Agreement, ¶ 2. Approximately one week later, Erazo-Centeno asked for Velasquez to bring him

26 another ounce of drugs. See Paidipaty Decl, Ex. A, Line Sheets at Call 588. While there is no question

27 that the defendant was not distributing pound or kilogram quantities at a time, he was also not being

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 1 supplied with smaller quantities such as “eight-balls” or packages containing an eighth of an ounce of

 2 drugs. In fact, during a conversation in March 2019, Velasquez, in negotiating pricing with a supplier,

 3 told the individual that Pika and the other dealers living in that location bought a lot of drugs from

 4 Velasquez. See Paidipaty Decl., Ex. C, Line Sheets at Call 308. Typically, purchasing a greater

 5 quantity allows a lower wholesale price from one supplier to another. Over time, these ounce quantities

 6 added up and pumped a significant amount of drugs onto the streets of this District.

 7          B.      Erazo-Centeno’s sold drugs both before and after the conduct charged in the federal
                    case.
 8

 9          Erazo-Centeno’s drug dealing activity occurred long before the time period of the conspiracy at

10 issue here. As far back as 2013, SFPD saw the defendant and co-defendant Velasquez dealing drugs in

11 the Tenderloin. Presentence Report (“PSR”) ¶ 45. Two years later, he was again stopped by SFPD for

12 suspected drug dealing. Id. ¶ 46. The following year, officers stopped Erazo-Centeno twice dealing

13 drugs with other individuals. Id. ¶¶ 47-48. That same year, he was convicted of being an accessory to a

14 crime, in violation of California Penal Code Section 32. Id. ¶ 39.

15          In May 2019, SFPD officers arrested Erazo-Centeno after watching him conduct hand-to-hand

16 drug transactions near 8th and Market Streets. Id. ¶ 49. At the time, the defendant possessed suspected

17 heroin, methamphetamine, and cocaine base, as well as over $800 in cash. Id. Erazo-Centeno initially

18 attended his local court proceedings and appeared to discuss them with Velasquez. During a call on

19 June 20, 2019, Erazo-Centeno told Velasquez that he was “in the class” and asked Velasquez what

20 documentation he needed to take to the judge. Paidipaty Decl, Ex. A, Line Sheets at Call 661.

21 Velasquez referenced an individual named “Sylvia” and said that Erazo-Centeno only needed to show

22 proof that he was attending the classes. Id. As described in the government’s sentencing memorandum

23 for Velasquez, Velasquez participated in a community drug court program following an arrest for drug

24 in San Francisco. During intercepted calls, Velasquez referenced an individual named Sylvia who was

25 involved with the diversion program, presumably the same individual referenced in his call with Erazo-

26 Centeno. It therefore appears that even while his state case was pending and he was participating in

27 programming, Erazo-Centeno continued selling drugs.

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 1          Later that year, in July and August 2019, when most of the co-defendants were arrested, agents

 2 were unable to locate and arrest Erazo-Centeno. It turns out the Erazo-Centeno left the Bay Area and

 3 went to Denver, Colorado where he began selling drugs. See id. ¶ 41. In January 2020, he was arrested

 4 by Colorado state officers and charged with various drug trafficking offenses. Id. A few months later,

 5 he was convicted and sentenced to two years’ imprisonment. Id.

 6          Considering the overall chronology, it appears that Erazo-Centeno has been selling drugs from

 7 2013 to early 2020. While the government cannot prove that Erazo-Centeno knew that he was wanted

 8 on federal charges prior to leaving for Colorado, the timing of his move coupled with his compliance

 9 status in state court prior to the Fall 2019 arrests of his co-defendants indicates that he was aware of the

10 federal operation and left the jurisdiction to evade capture. As his criminal record shows, though, just

11 because he left the jurisdiction did not mean that he stopped his street drug sales.

12          While Erazo-Centeno is a street-level dealer rather than a higher-level dealer/supplier, his

13 lengthy history of law enforcement contacts and higher Criminal History Category (CHC IV)

14 differentiate the defendant from other street-level dealers that the Court has sentenced previously. The

15 government recognizes that one of the convictions that adds three points to the defendant’s criminal

16 history score occurred after the present conduct, but even accounting for that, Erazo-Centeno would still

17 be in CHC III, which is higher than many other co-defendant street-level dealers who were only in

18 Category I. His position, therefore, is not entirely commensurate with those of co-defendants that were

19 sentenced to time served (which ranged in cases from months to approximately one year in custody). As

20 stated previously, the government also recognizes that Erazo-Centeno was a street-level dealer and did

21 not occupy a higher or managerial role. Combining all of these factors, the government submits that a

22 nine-month variance from the low-end of the Guidelines is warranted and urges this Court to impose a

23 sentence of 48 months in custody.

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 1 V.      CONCLUSION

 2         The government respectfully recommends that this Court impose a 48-month custodial sentence,

 3 followed by three years of supervised release, and a $100 mandatory special assessment.

 4 DATED: February 9, 2022                                    Respectfully submitted,

 5                                                            STEPHANIE M. HINDS
                                                              United States Attorney
 6
                                                                     /s
 7
                                                              SAILAJA M. PAIDIPATY
 8                                                            Assistant United States Attorney

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